                    IN THE COURT OF APPEALS OF NORTH CAROLINA

                                      2021-NCCOA-135

                                       No. COA20-212

                                     Filed 20 April 2021

     Surry County, No. 19 JB 46

     IN THE MATTER OF D.A.H.

           Appeal by the Juvenile from an order entered on 13 August 2019 by Judge

     Marion M. Boone in Surry County District Court. Heard in the Court of Appeals 27

     January 2021.


           Attorney General Joshua H. Stein, by Special Deputy Attorney General Vanessa
           N. Totten, for the State.

           Appellate Defender Glenn Gerding, by Assistant Appellate Defender Jillian C.
           Katz, for the Juvenile.


           JACKSON, Judge.


¶1         The issue in this case is whether a juvenile is entitled to Miranda warnings

     prior to being interrogated by his school principal, when the school resource officer

     (“SRO”) is present but does not ask questions. Because we conclude that the trial

     court relied on an improper legal test in determining that the juvenile was not

     entitled to Miranda warnings, we reverse and remand this matter for further

     proceedings.

                       I.   Factual and Procedural Background

¶2         This matter arises from a series of events that occurred at Gentry Middle
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     School in Mount Airy, North Carolina during March 2019. On 11 March 2019, Deputy

     William Sechrist—who acted as the SRO at Gentry Middle School—was informed by

     school personnel that a student, Daniel,1 had been found with marijuana on the

     school bus. The school bus driver had observed Daniel holding a small netted bag

     containing a leafy substance. The bus driver handed over the bag to Deputy Sechrist,

     who recognized the substance as marijuana. Deputy Sechrist then escorted Daniel

     to the principal’s office and called Daniel’s father.

¶3         Once inside the principal’s office, Daniel “asked to speak freely,” but Deputy

     Sechrist told him to “wait until your daddy gets here.” Once Daniel’s father arrived,

     Daniel told Deputy Sechrist the details of how he obtained the marijuana. Daniel

     explained that the previous weekend, he had contacted a fellow student—13-year-old

     Deacon—via Snapchat asking to buy some marijuana. Daniel and Deacon then met

     up in the school locker room on the morning of March 11, and Deacon gave Daniel a

     small bag of marijuana in exchange for $25. Deputy Sechrist performed a field test

     on the substance, which confirmed that the substance was 0.7 grams of marijuana.

¶4         Deacon was absent from school the following two days (March 12 and 13) and

     the record contains no indication that the school or the deputy took any efforts to

     contact Deacon or his guardian during this time. On 14 March 2019, Deacon




           1 Pseudonyms are used to protect the privacy of the juveniles.
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     reappeared in class and was summoned to the principal’s office.        When Deacon

     arrived at the principal’s office, both Principal Whitaker and Deputy Sechrist were

     present. Deputy Sechrist was in uniform, and Principal Whitaker was wearing a suit

     and tie. Principal Whitaker and Deputy Sechrist sat together on one side of the table,

     facing Deacon. At the time that Deacon arrived, his guardian had not been told that

     Deacon was in the principal’s office.

¶5         Principal Whitaker began questioning Deacon. The only evidence of what

     occurred during this meeting comes from the testimony of Deputy Sechrist, who

     offered three slightly differing accounts of how the meeting proceeded. When first

     asked about the meeting (on direct examination), Deputy Sechrist did not specify

     what precisely was asked of Deacon, but stated that Deacon “advised Mr. Whitaker

     he did not come to school for two days [because] he was scared he was going to get in

     trouble because he . . . sold marijuana to [Daniel].”

¶6         When asked about the meeting for a second time on cross-examination, Deputy

     Sechrist stated that Principal Whitaker had “asked [Deacon] to tell . . . what had

     taken place,” and in response Deacon told them “that he had sold [Daniel] some

     marijuana, where he got it, and all this other stuff.”

¶7         When asked about the meeting for a third time on redirect-examination,

     Deputy Sechrist described the conversation in more detail, explaining that the

     following exchange occurred between Deacon and Principal Whitaker:
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                        [Principal]: Where have you been for the last few days?

                        [Deacon]: Well, I’ve been afraid to come to school I’d get
                        in trouble [sic].

                        [Principal]: In trouble for what?

                        [Deacon]: What I sold [Daniel].

                        [Principal]: What did you sell him?

                        [Deacon]: Marijuana.

¶8            Deputy Sechrist stated that after this confession, Principal Whitaker called

       Deacon’s grandmother, who arrived “probably . . . 10 minutes” after Deacon was

       brought into the office. He also stated that “[n]ot very many questions were even

       asked prior to her arrival.”

¶9            After Deacon’s grandmother arrived, the principal asked Deacon to tell his

       grandmother “what had taken place[,]” and Deacon repeated his statements to his

       grandmother.        Deputy Sechrist testified that at no point was Deacon read his

       Miranda rights, told he did not have to answer their questions, nor told that he was

       free to leave.

¶ 10          Several months later, a juvenile petition was filed on 13 May 2019 alleging

       that Deacon had sold a schedule six controlled substance (marijuana) to another

       student in violation of N.C. Gen. Stat. § 90-95(a)(1). Deacon filed a motion to suppress

       on 13 August 2019, arguing that his statements to Principal Whitaker were
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inadmissible as his confession was obtained in violation of his Miranda rights. A

hearing was held on the matter that same day (13 August 2019), during which the

trial court concluded that Deacon was not entitled to Miranda warnings because the

meeting with the principal was not a custodial interrogation. In denying Deacon’s

motion to suppress, the trial court found and concluded in open court as follows:

                    I am going to deny the Motion to Suppress. A
             number of things stand out to me. The officer . . . he is the
             SRO. He’s there every day. This wasn’t some strange
             police officer that was called to stand guard at the door. I
             think it’s not unusual in a school setting for many or any of
             the children to be called to the office or principal’s office. I
             don’t think that automatically tends to turn it into a
             custodial interrogation. The young man was not in
             custody. He wasn’t even questioned by the School Resource
             Officer, who was a daily presence there at the school. It
             wasn’t some strange officer in a uniform.

                    Also, another reference was made, of which I think
             that anybody at school would have had reason to ask, if
             apparently [Deacon] was out of school. Because the officer
             said that [Deacon] . . . told the principal he didn’t come to
             school for two days because he was scared he would get in
             trouble for selling marijuana. I don’t know that any officer
             would ever even ask: Why didn’t you come to school? But
             a principal certainly would or should ask if a child’s been
             absent from school.

                    Therefore, I don’t see that it was outside the scope of
             anything. I think that was certainly, regardless of who was
             in the room or not, a proper question. And that’s what it
             sounds like it was in response to: Why weren’t you in
             school the past two days? Well, I didn’t come to school the
             past two days because I was afraid I’d get in trouble for
             selling marijuana to [Daniel].
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                          So I don’t see this as a custodial interrogation. And
                    the motion is denied.

¶ 11         Deacon was ultimately adjudicated delinquent for the sale and delivery of

       marijuana. In adjudicating Deacon delinquent, the trial court relied on Deacon’s

       confession that he had sold marijuana to Daniel, as well as Daniel and Deputy

       Sechrist’s hearing testimony that the substance sold was marijuana.

¶ 12         A disposition order was not entered within 60 days after entry of the

       adjudication order, so, pursuant to N.C. Gen. Stat. § 7B-2602, Deacon entered notice

       of appeal within 70 days from entry of the adjudication order. The trial court ordered

       on 25 October 2019 that disposition was stayed pending resolution of Deacon’s appeal.

                                         II.      Analysis

¶ 13         On appeal, Deacon argues that the trial court erred in denying his motion to

       suppress because his statements were the product of a custodial interrogation and

       made without Miranda warnings or the additional protections of N.C. Gen. Stat.

       § 7B-2101. Deacon further argues that the trial court’s error was prejudicial and not

       harmless beyond a reasonable doubt. As explained below, we hold that the trial

       court’s order fails to apply the appropriate legal principles, and we must remand this

       matter to the trial court for additional proceedings.

       A. Standard of Review

¶ 14         Our review of a trial court’s order on a motion to suppress is “strictly limited
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       to determining whether the trial judge’s underlying findings of fact are supported by

       competent evidence, in which event they are conclusively binding on appeal, and

       whether those factual findings in turn support the judge’s ultimate conclusions of

       law.”   State v. Cooke, 306 N.C. 132, 134, 291 S.E.2d 618, 619 (1982).         “Legal

       conclusions, including the question of whether a person has been interrogated while

       in police custody, are reviewed de novo.” In re K.D.L., 207 N.C. App. 453, 456, 700

       S.E.2d 766, 769 (2010). Under de novo review, this Court “considers the matter anew

       and freely substitutes its own judgment for that of the lower tribunal.” In re A.K.D.,

       227 N.C. App. 58, 60, 745 S.E.2d 7, 8 (2013) (citation omitted).

       B. Motion to Suppress—Legal Background

          1. Juvenile Miranda Rights

¶ 15           This case presents a unique issue regarding the nature and extent of a

       juvenile’s right to receive Miranda warnings in the context of a school interrogation.

       Miranda rights stem from the Fifth Amendment of the United States Constitution,

       which guarantees that “[n]o person . . . shall be compelled in any criminal case to be

       a witness against himself.” U.S. CONST. amend. V. The basic holding of Miranda v.

       Arizona instructs that “when an individual is taken into custody or otherwise

       deprived of his freedom by the authorities in any significant way and is subjected to

       questioning, the privilege against self-incrimination is jeopardized” and thus

       “[p]rocedural safeguards must be employed.” Miranda v. Arizona, 384 U.S. 436, 478,
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       (1966).

¶ 16         It is well-established that juveniles, just like adults, are entitled to receive

       Miranda warnings prior to in-custody interrogations in order to protect their right

       against self-incrimination. In re Gault, 387 U.S. 1, 55 (1967). See also K.D.L., 207

       N.C. App. at 457, 700 S.E.2d at 770 (“In order to protect the Fifth Amendment right

       against compelled self-incrimination, suspects, including juveniles, are entitled to the

       warnings set forth in Miranda v. Arizona prior to police questioning.”).

¶ 17         In addition to the rights mandated by Miranda, in North Carolina our General

       Assembly “has established statutory protections for juveniles” who face custodial

       interrogation.   In re L.I., 205 N.C. App. 155, 158, 695 S.E.2d 793, 797 (2010).

       Specifically, under N.C. Gen. Stat. § 7B-2101,

                    [a]ny juvenile in custody must be advised prior to
                    questioning:

                           (1) That the juvenile has a right to remain silent;

                           (2) That any statement the juvenile does make can
                               be and may be used against the juvenile;

                           (3) That the juvenile has a right to have a parent,
                               guardian,    or   custodian   present   during
                               questioning; and

                           (4) That the juvenile has a right to consult with an
                               attorney and that one will be appointed for the
                               juvenile if the juvenile is not represented and
                               wants representation.
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       N.C. Gen. Stat. § 7B-2101(a)(1)–(4) (2019).

¶ 18         The Juvenile Code provides for even greater protections if the juvenile who is

       interrogated is younger than 16:

                    When the juvenile is less than 16 years of age, no in-
                    custody admission or confession resulting from
                    interrogation may be admitted into evidence unless the
                    confession or admission was made in the presence of the
                    juvenile’s parent, guardian, or attorney. If an attorney is
                    not present, the parent, guardian, or custodian as well as
                    the juvenile must be advised of the juvenile’s rights as set
                    out in subsection (a) of this section; however, a parent,
                    guardian, or custodian may not waive any right on behalf
                    of the juvenile.

       Id. § 7B-2101(b). In this respect, “our General Statutes codify and enhance the

       protections required under Miranda.” In re J.D.B., 363 N.C. 664, 668, 686 S.E.2d

       135, 138 (2009) (emphasis added), rev’d and remanded sub nom. J.D.B. v. North

       Carolina, 564 U.S. 261 (2011). However, the protections of Miranda and § 7B-2101

       are only triggered when the juvenile is subjected to a custodial interrogation. In re

       A.N.C., 225 N.C. App. 315, 319, 750 S.E.2d 835, 838 (2013). In other words, “the

       general Miranda custodial interrogation framework is applicable to section 7B-2101.”

       In re K.D.L., 207 N.C. App. at 458, 700 S.E.2d at 770.

¶ 19          In general, a custodial interrogation occurs when “questioning [is] initiated by

       law enforcement officers after a person has been taken into custody or otherwise

       deprived of his freedom of action in any significant way.” Id. (internal marks and
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       citation omitted). This inquiry has traditionally been broken down into a two-part

       test: (1) whether the suspect was in custody; and (2) whether the statement was

       made in the context of an interrogation. See id.
¶ 20         As for the custody element, the basic test is “whether a reasonable person in

       the position of the defendant would believe himself to be in custody or that he had

       been deprived of his freedom of action in some significant way.” State v. Greene, 332

       N.C. 565, 577, 422 S.E.2d 730, 737 (1992). This element is viewed objectively from

       the standpoint of a reasonable observer. Stansbury v. California, 511 U.S. 318, 323
       (1994). As for the interrogation element, an interrogation occurs when the authorities

       use “any words or actions” that they “should know are reasonably likely to elicit an

       incriminating response from the suspect.” Rhode Island v. Innis, 446 U.S. 291, 301
       (1980). This element “is also determined objectively” with reference to the “totality

       of the circumstances.” In re K.D.L., 207 N.C. App. at 458, 700 S.E.2d at 770.

          2. Juvenile Miranda Rights in the Context of the Schoolhouse

¶ 21         The questioning of juveniles in the context of the schoolhouse presents unique

       Miranda considerations.      First, it should be noted that Miranda “does not

       automatically apply to all government actors”—rather, it only applies to

       interrogations conducted by (or in concert with) law enforcement officers. Id. at 459,

       700 S.E.2d at 771. For example, a student simply being questioned by a principal

       would not generally qualify as a custodial interrogation, but a student questioned by
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       an SRO certainly could. See id. Second, the schoolhouse is a unique forum because

       “schoolchildren inherently shed some of their freedom of action when they enter the

       schoolhouse door,” given educators’ need “to control the school environment.” Id.
       (internal marks and citation omitted).       Due to the constraints inherent in the

       schoolhouse environment, we have held that a child is only under custodial

       interrogation when “he is subjected to additional restraints beyond those generally

       imposed during school.” Id.
¶ 22         The first case to fully articulate this heightened schoolhouse standard was In

       re K.D.L., 207 N.C. App. at 454, 700 S.E.2d at 768. There, after a 12-year-old student

       was discovered with marijuana in the classroom, he was taken to the assistant

       principal’s office. Id. The SRO arrived at the assistant principal’s office, briefly spoke

       with the juvenile, frisked him to search for weapons, and then transported the

       juvenile in his patrol car to the principal’s office (which was located in a separate

       building). Id. Once in the principal’s office, the SRO remained present while the

       principal questioned the juvenile. Id. The juvenile first denied that the marijuana

       was his, but eventually confessed. Id. All in all, the juvenile was questioned “for

       about five or six hours” by the principal and “was not permitted to leave for lunch.”

       Id. at 455, 700 S.E.2d at 768. The questioning began around 9:00 a.m., but the

       juvenile’s mother was not contacted until around 3:00 p.m. Id. The juvenile later

       filed a motion to suppress, which was denied by the trial court. Id. at 455, 700 S.E.2d
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       at 768-69.

¶ 23          On appeal, we held that the juvenile’s confession “should have been

       suppressed” as it was obtained in violation of his Miranda rights. Id. at 456, 700

       S.E.2d at 769. We noted that “despite the decreased level of freedoms in schools,” we

       still must not “forget that police interrogation is inherently coercive—particularly for

       young people.” Id. at 459, 700 S.E.2d at 771. We emphasized that the State “has a

       greater duty to protect the rights of a respondent in a juvenile proceeding than in a

       criminal prosecution.” Id. at 460, 700 S.E.2d at 771 (internal marks and citation

       omitted).

¶ 24          We concluded that the juvenile’s statements were made during a custodial

       interrogation because “a reasonable person in his situation would believe he was

       functionally under arrest.” Id. at 461, 700 S.E.2d at 772. As for the custody element

       of the Miranda test, we relied on the following factors to conclude that the juvenile

       was in custody: (1) the juvenile “knew he was suspected of a crime” and was “accused

       of drug possession”; (2) he “was interrogated for about six hours”; (3) the interrogation

       occurred “generally in the presence of an armed police officer”; (4) the juvenile “was

       frisked by that officer and transported in the officer’s vehicle” to the principal’s office;

       and (5) “at no point was there any indication that [the juvenile] was free to leave.”

       Id. We reasoned that these occurrences went beyond “the usual restraints generally

       imposed during school” and instead were closer to those that would “likely [be]
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       experienced by an arrestee.” Id.
¶ 25         As for the interrogation element of the Miranda test, we first noted that this

       was a “unique situation because [the SRO] did not ask any questions.” Id.
       Nevertheless, we concluded that an interrogation had occurred because

                    [the SRO’s] conduct significantly increased the likelihood
                    [the juvenile] would produce an incriminating response to
                    the principal’s questioning. His near-constant supervision
                    of [the juvenile’s] interrogation and “active listening” could
                    cause a reasonable person to believe [the principal] was
                    interrogating him in concert with [the SRO] or that the
                    person would endure harsher criminal punishment for
                    failing to answer.

       Id. Thus, because the juvenile had “made his confession in the course of custodial

       interrogation without being afforded the warnings required by Miranda and section

       7B-2101(a), and because he was not apprised of and afforded his right to have a

       parent present,” we held that the trial court erred in denying the motion to suppress.

       Id. at 462, 700 S.E.2d at 773.

¶ 26         Another prominent recent case addressing the issue of schoolhouse

       interrogations was In re J.D.B., 363 N.C. at 668, 686 S.E.2d at 138 (2009). There, a

       13-year-old student was called into the principal’s office after he was found in

       possession of a stolen camera. Id. at 665-66, 686 S.E.2d at 136. Present in the room

       were the assistant principal, the SRO, and an investigator employed by the local

       police force. Id. Prior to the meeting, the juvenile was not given a Miranda warning,
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       and was not offered the opportunity to speak with a parent.           Id.   During the

       approximately 30 to 45 minute interview, the assistant principal repeatedly urged

       the juvenile to “do the right thing” and “tell the truth,” and the investigator informed

       him that he knew about the stolen cameras. Id. at 666-67, 686 S.E.2d at 136-37. The

       juvenile ultimately confessed to having stolen the cameras, and these incriminating

       statements later resulted in an unsuccessful motion to suppress by the juvenile. Id.

       at 666-68, 686 S.E.2d at 137.

¶ 27         When the case reached the North Carolina Supreme Court, the Court held that

       no Miranda warning was necessary because no custodial interrogation had occurred.

       Id. at 670, 686 S.E.2d at 139. The Court based its holding on the fact that the SRO

       participated only minimally in the questioning; the juvenile was not restrained or

       locked in the room; and the juvenile appeared to have participated willingly. Id. The

       Court specifically declined to consider the juvenile’s “age and his status as a special

       education student” in reaching its holding, explaining that these factors were not an

       appropriate part of the objective test under Miranda. Id. at 671-72, 686 S.E.2d at

       139-40.

¶ 28         The United States Supreme Court disagreed, however, granting certiorari to

       review whether “a child’s age would have affected how a reasonable person in the

       suspect’s position would perceive his or her freedom to leave.”        J.D.B. v. North

       Carolina, 564 U.S. 261, 271-72 (2011) (internal marks and citation omitted). The
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       Court ultimately reversed and remanded the case, after determining that a child’s

       age should be a relevant consideration in a custody analysis. Id. at 281.

¶ 29         The Court began by noting the “inherently compelling pressures” of custodial

       interrogation—a risk which is “all the more acute” when the subject is a juvenile. Id.

       at 269 (internal marks and citation omitted). Observing that “children generally are

       less mature and responsible than adults,” the Court went on to note that minors also

       “often lack the experience, perspective, and judgment to recognize and avoid choices

       that could be detrimental to them.” Id. at 272 (internal marks and citation omitted).

       Specific to law enforcement interrogations, “a reasonable child subjected to police

       questioning will sometimes feel pressured to submit when a reasonable adult would

       feel free to go,” the Court observed. Id. And in many cases, “the custody analysis

       would be nonsensical absent some consideration of the suspect’s age.” Id. at 275.

¶ 30         The Court considered the school setting to present just such a situation. Id.
       In the school setting, “[n]either officers nor courts can reasonably evaluate the effect

       of objective circumstances that, by their nature, are specific to children without

       accounting for the age of the child subjected to those circumstances[,]” the Court

       reasoned. Id. at 276. The Court went on to note that

                    the effect of the schoolhouse setting cannot be disentangled
                    from the identity of the person being questioned. A
                    student—whose presence at school is compulsory and
                    whose disobedience at school is cause for disciplinary
                    action—is in a far different position than, say, a parent
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                    volunteer on school grounds to chaperone an event[.] . . .
                    Without asking whether the person questioned in the
                    school is a minor, the coercive effect of the schoolhouse
                    setting is unknowable.

       Id. at 276 (internal marks and citation omitted).

¶ 31         Accordingly, the Court found that considering a child’s age was perfectly

       consistent with the objective nature of the Miranda test. Id. The Court cautioned

       that while “a child’s age will [not] be a determinative, or even a significant, factor in

       every case,” in many cases it is “a reality that courts cannot simply ignore.” Id. at

       277. Thus, the Court ultimately held that “so long as the child’s age was known to

       the officer at the time of police questioning, or would have been objectively apparent

       to a reasonable officer, its inclusion in the custody analysis is consistent with the

       objective nature of that test.” Id. at 277.

¶ 32         Another prominent decision in our juvenile Miranda caselaw was In re D.A.C.,

       225 N.C. App. 547, 741 S.E.2d 378 (2013). There, officers were investigating gunshots

       that had been fired into a home when they encountered a juvenile in the yard across

       the street. Id. at 548, 741 S.E.2d at 379. The juvenile’s father came outside and

       encouraged the juvenile “to go with the officers and to be truthful.” Id. The officers

       asked the juvenile if he would speak with them and they received an affirmative

       response. Id. They walked with the juvenile to the corner of the yard, about “ten feet

       outside the home, where they talked for about five minutes.” Id. They all stood at
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       arms’ length from each other, and though both officers were armed, “neither of them

       touched or made any movement towards their weapons at any point.” Id. at 548-49,

       741 S.E.2d at 380. However, the officers never expressly told the juvenile that he was

       free to leave or that he did not have to answer their questions. Id.
¶ 33          After the officers asked the juvenile whether he had fired the shots, the

       juvenile confessed. Id. at 549, 741 S.E.2d at 380. The juvenile later filed a motion to

       suppress his confession for violation of his Miranda rights, which was denied by the

       trial court. Id. On appeal, we held that the trial court acted properly because the

       juvenile was not subjected to a custodial interrogation while speaking with the

       officers. Id. at 550, 741 S.E.2d at 380. “A careful analysis of the totality of the

       circumstances surrounding the making of [the] Juvenile’s statement clearly

       indicate[d] . . . that [he] was not subject to the degree of restraint inherent in a formal

       arrest[,]” we reasoned. Id. at 552, 741 S.E.2d at 382. We relied on the fact that (1)

       the officers “asked him to step outside, rather than instructing him to do so”; (2) the

       juvenile did nothing more than “answer a simple, straightforward question” posed to

       him by the officers; (3) during the conversation, all three participants “were standing

       and remained at arm’s length from each other”; (4) the conversation occurred “in

       broad daylight,” “in an open area in [the juvenile’s] own yard with his parents

       nearby”; and (5) the conversation only lasted for about five minutes. Id. at 553, 741

       S.E.2d at 382.
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¶ 34         Finally, In re R.P., 216 N.C. App. 585, 718 S.E.2d 423, 2011 WL 5185568 (2011)

       (unpublished), demonstrates how this Court has addressed cases that fail to properly

       apply the standard from J.D.B.       There, a high-school student filed a motion to

       suppress an incriminating statement he made to an SRO, but his motion was denied

       by the trial court. Id. at *1-2. On appeal, we discussed the decisions in both In re

       K.D.L. and J.D.B., noting that under then-current North Carolina Miranda law, we

       were required to consider both (1) whether the student had been subjected to

       restraints that go beyond “the limitations that are characteristic of the school

       environment in general,” and (2) how “the juvenile’s age and experience” might factor

       into the custodial question. Id. at *3 (internal marks and citation omitted). However,

       because the trial court failed to issue a written order, and because the trial transcript

       left us “unable to discern whether the trial court considered the juvenile’s age in

       accordance with the United States Supreme Court’s mandate in In re J.D.B.,” we

       concluded that it necessary to remand the matter for further fact-finding. Id. at *4.

          3. Clarifying the Juvenile Custodial Interrogation Test

¶ 35         Today we harmonize our prior opinions on this issue in light of the United

       States Supreme Court’s holding in J.D.B. and the holdings of our sister courts in

       other states.   There can be no doubt that educators and law enforcement are

       increasing their collaboration in the school setting and that school officials are

       increasingly becoming active participants in the criminal justice system.         While
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       potentially warranted for both the educational and safety needs of our children, this

       cooperation must be consistent with the Fifth Amendment’s guarantee against self-

       incrimination. As the United States Supreme Court recognized in J.D.B., the Fifth

       Amendment requires that minors under criminal investigation be protected against

       making coerced, inculpatory statements, even when—and perhaps, in some cases,

       particularly because—they are on school property. J.D.B., 564 U.S. at 275. Increased

       cooperation between educators and law enforcement cannot allow the creation of

       situations where no Miranda warnings are required just because a student is on

       school property.

¶ 36         To that end, we believe that one aspect of the schoolhouse Miranda test is

       particularly deserving of an in-depth review here—namely, the extent of the SRO’s

       involvement in the interrogation. On one end of the custodial spectrum, it is near-

       universally agreed that a meeting solely between a student and school officials

       generally will not qualify as a custodial interrogation. See In re K.D.L., 207 N.C. App.

       at 459, 700 S.E.2d at 771 (noting that Miranda “does not automatically apply to all

       government actors”—rather, it only applies to interrogations conducted by, or in

       concert with, law enforcement officers); D.Z. v. State, 100 N.E.3d 246, 247 (Ind. 2018)

       (“[W]hen school officials alone meet with students, a clear rule governs: Miranda

       warnings are not required.”); Martin R. Gardner, Removing Miranda from School

       Interrogations, 99 NEB. L. REV. 16, 30 (2020) (“If there is no law enforcement
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       involvement, then there is no custody and no Miranda applicability.”).

¶ 37         On the other end of the spectrum, an interview that features heavy SRO

       involvement or direction will often qualify as a custodial interrogation. See, e.g., In

       re R.H., 568 Pa. 1, 4-8, 791 A.2d 331, 332-35 (2002) (holding that Miranda warnings

       should have been given where a student was removed from class by an SRO and

       interrogated by the officer for 25 minutes, and where the interrogation “ultimately

       led to charges by the municipal police, not punishment by school officials pursuant to

       school rules”).

¶ 38         Then there are cases between those two ends of the spectrum—cases like the

       present one—where the SRO is present while the juvenile is questioned by school

       officials but does not participate in the questioning, or where the SRO participates

       minimally in the questioning. We hold that circumstances such as these can indeed

       qualify as custodial interrogations where Miranda warnings are required. As

       discussed above, in In re K.D.L., we held that Miranda warnings were required even

       when the SRO remained silent throughout the juvenile’s interview. See In re K.D.L.,

       207 N.C. App. at 461, 700 S.E.2d at 772 (holding that a custodial interrogation had

       occurred—despite the fact that the SRO “did not ask any questions”—because the

       SRO’s “near-constant supervision” of the interrogation and “active listening”

       throughout might “cause a reasonable person to believe” that the principal was

       interrogating the juvenile “in concert with” the SRO).
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¶ 39         Today we reaffirm this principle. We agree that when a student is interrogated

       in the presence of an SRO—even when the SRO remains silent—the presence of the

       officer can create a coercive environment that goes above and beyond the restrictions

       normally imposed during school, such that a reasonable student would readily believe

       they are not free to go. This holding recognizes the “reality that courts cannot simply

       ignore”—that juveniles are uniquely susceptible to police pressure and may feel

       compelled to confess when a reasonable adult would not. J.D.B., 564 U.S. at 277.

¶ 40         Moreover, this holding is consistent with the decisions of other state appellate

       courts. Since the time In re K.D.L. was decided in 2010, several other state appellate

       courts have approved of this rationale—recognizing that oftentimes the presence of

       an SRO during schoolhouse questioning can transform what otherwise might appear

       to be a voluntary encounter into a custodial interrogation.         See, e.g., N.C. v.

       Commonwealth, 396 S.W.3d 852, 854-62 (Ky. 2013) (holding that Miranda warnings

       were required when the SRO was “present throughout” the juvenile’s interrogation

       by the principal—despite the SRO’s minimal involvement in the questioning—

       because “[n]o reasonable student . . . would have believed that he was at liberty to

       remain silent, or to leave” under the circumstances); State v. Antonio T., 352 P.3d

       1172, 1179-80 (N.M. 2015) (holding that the SRO’s “mere presence during [the

       principal’s] questioning of [the juvenile] converted the school disciplinary

       interrogation into a criminal investigatory detention,” because the SRO’s presence
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       “created a coercive and adversarial environment that does not normally exist during

       interactions between school officials and students”); B.A. v. State, 100 N.E.3d 225,

       229-34 (Ind. 2018) (holding that although the officers “did not directly question” the

       juvenile during his interrogation by the principal, nevertheless the “consistent police

       presence” throughout the interview “would place considerable coercive pressure on a

       reasonable student in [the juvenile’s] situation” and required the provision of

       Miranda warnings).

¶ 41         Thus, we reiterate that the presence of an SRO (or other law enforcement

       officer) while a student is interrogated by a school official weighs heavily on the scale

       when determining whether what otherwise might appear to be a voluntary encounter

       is instead a custodial interrogation. However, we also note that the involvement of

       an SRO in the questioning is a factor which is relevant, but is not by itself dispositive,

       to the question of whether the encounter between a child and a school official is a

       custodial interrogation. We still must look to all of the remaining Miranda factors to

       determine if any statements the student makes were the product of a custodial

       interrogation.

             a. Custody

¶ 42          The first element of the Miranda test asks whether the juvenile was in

       custody. As explained by the United States Supreme Court,
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                           [W]hether a suspect is in custody is an objective
                    inquiry. Two discrete inquiries are essential to the
                    [custody]    determination:      first, what     were    the
                    circumstances surrounding the interrogation; and second,
                    given those circumstances, would a reasonable person have
                    felt he or she was at liberty to terminate the interrogation
                    and leave.

                    ...

                           Rather than demarcate a limited set of relevant
                    circumstances, we have required police officers and courts
                    to examine all of the circumstances surrounding the
                    interrogation, including any circumstances that would
                    have affected how a reasonable person in the suspect’s
                    position would perceive his or her freedom to leave.

       J.D.B., 564 U.S. at 270-71 (internal marks and citation omitted).

¶ 43         After thoroughly reviewing the caselaw from this state, the United States

       Supreme Court, and persuasive authority from other jurisdictions, we conclude that

       the following factors are most relevant in determining whether a juvenile is in

       custody in the context of a schoolhouse interview:

                (1) traditional indicia of arrest;

                (2) the location of the interview;

                (3) the length of the interview;

                (4) the student’s age;

                (5) what the student is told about the interview;

                (6) the people present during the interview; and,
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                 (7) the purposes of the questioning.

¶ 44          First—was the student subjected to any of the traditional indicia of arrest? If

       the student was handcuffed, transported in a police car, subjected to a search of his

       or her person or belongings, or otherwise bodily restrained, then this is a strong

       indication that the student was in custody. See, e.g., In re K.D.L., 207 N.C. App. at

       461, 700 S.E.2d at 772 (juvenile was in custody when he was “frisked by [the] officer

       and transported in the officer’s vehicle to [the principal’s] office,” as this is a type of

       restraint that is “more likely experienced by an arrestee” than a student); State v.

       Buchanan, 353 N.C. 332, 339, 543 S.E.2d 823, 828 (2001) (“Circumstances supporting

       an objective showing that one is ‘in custody’ might include a police officer standing

       guard at the door, locked doors, or application of handcuffs.”); B.A., 100 N.E.3d at 232
       (“On the other end of the [custody] spectrum lie armed and uniformed police officers

       who pull students from class in handcuffs before questioning them.”).

¶ 45          Second—where was the interview held? If the interview was conducted in a

       location that a reasonable child might consider confining, this tends to show that the

       child was in custody. See, e.g., State v. Doe, 130 Idaho 811, 818, 948 P.2d 166, 173
       (1997) (“We think it unlikely that the environment of a principal’s office or a faculty

       room is considered by most children to be a familiar or comfortable setting, for

       students normally report to these locations for disciplinary reasons[.]”). On the other

       hand, if the interview was held in a location where a child is likely to feel comfortable
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       and at-ease, this tends to show that the child was not in custody. See, e.g., In re

       D.A.C., 225 N.C. App. at 553, 741 S.E.2d at 382 (holding that no custody occurred

       because “instead of being involved in a closed door conference room with police and

       an assistant principal, [the] juvenile was questioned in an open area in his own yard

       with his parents nearby”) (internal marks and citation omitted). Other relevant

       considerations include the size of the room, whether the door was closed or locked,

       and the child’s familiarity with that specific location.

¶ 46         Third—how long was the interview? A long, drawn-out questioning tends to

       show that the child was in custody, whereas a very brief questioning does not.

       Compare In re K.D.L., 207 N.C. App. at 461, 700 S.E.2d at 772 (juvenile was in

       custody where he “was interrogated for about six hours, generally in the presence of

       an armed police officer”) with In re D.A.C., 225 N.C. App. at 553, 741 S.E.2d at 382
       (juvenile was not in custody when “the conversation between Juvenile and the

       investigating officers . . . lasted for about five minutes”).        Other relevant

       considerations include whether the child was offered a place to sit, and whether the

       child is offered common courtesies such as food, water, or bathroom breaks. See State

       v. Hammonds, 370 N.C. 158, 164, 804 S.E.2d 438, 443 (2017) (suspect was not in

       custody when “the detectives offered [him] food or drink” and bathroom breaks were

       made available).

¶ 47         Fourth—how old was the student? As explained by the United States Supreme
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       Court in J.D.B., younger children are far more “vulnerable or susceptible to outside

       pressures” than older children or adults. See J.D.B., 564 U.S. at 272 (internal marks

       and citation omitted). Thus, the younger the student, the more sensitive the student

       will be to circumstances that could be coercive—“[s]o long as the child’s age was

       known to the officer at the time of the interview, or would have been objectively

       apparent to any reasonable officer.” Id. at 274. Compare Doe, 130 Idaho at 819, 948

       P.2d at 174 (holding that it was “unlikely that any ten-year-old would feel free to

       simply leave” when questioned by an SRO or school authorities); with J.D.B., 564

       U.S. at 277 (explaining that “teenagers nearing the age of majority” are unlikely to

       feel the same coercive pressures as younger children) (internal marks and citation

       omitted).

¶ 48         Fifth—what was the student told about the interview?           If the student is

       informed that he or she is free to leave, that answering questions is not required, or

       is offered the opportunity to call a parent or guardian, then this tends to show that

       the student was not in custody. See, e.g., In re Hodge, 153 N.C. App. 102, 108, 568

       S.E.2d 878, 882 (2002) (juvenile was not in custody when the detective “prefaced her

       interview with [the juvenile] by saying, ‘you don’t have to talk to me,’ ‘I am not going

       to arrest you’”). On the other hand, if the student is not informed about the nature

       of the interview, and is not told whether his or her presence is compulsory or

       voluntary, this weighs in favor of the conclusion that the student was in custody. See
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       In re K.D.L., 207 N.C. App. at 461-62, 700 S.E.2d at 772-73 (juvenile was in custody

       where he “knew he was suspected of a crime,” and there was “no suggestion anything

       transpired that would cause him to believe he was free to leave”). And of course, a

       student is certainly in custody if he or she is expressly told not to leave.

¶ 49         Sixth—who all is present during the interview? If the student is questioned in

       the presence of multiple SROs or other law enforcement officers, or even by numerous

       school officials, this tends to show that the student was in custody. See, e.g., B.A.,

       100 N.E.3d at 232 (considering the “number of officers present and how they are

       involved” as a key step in custody analysis). On the other hand, if a parent, guardian,

       or other person who can advocate for the child (such as a guidance counselor), is

       present or nearby during the interview, this suggests a reasonable child would not

       have felt coerced. Compare In re D.A.C., 225 N.C. App. at 553, 741 S.E.2d at 382
       (juvenile was not in custody when he was “questioned in an open area in his own yard

       with his parents nearby”); with Doe, 130 Idaho at 818, 948 P.2d at 173 (juvenile was

       in custody when “[n]o parent or other adult concerned with Doe’s best interest was

       present during the questioning”).

¶ 50         Seventh—what were the objectively apparent purposes of the interview? In

       other words, was the interview primarily a criminal investigation or primarily a

       school disciplinary matter? See Antonio T., 352 P.3d at 1179 (“Questioning a child

       for school disciplinary matters is distinguishable from questioning a child for
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       suspected criminal wrongdoing.”); N.C., 396 S.W.3d at 865 (explaining that even

       “when law enforcement is involved” in the questioning of a student, Miranda

       warnings are not necessary “if the matter purely concerns school discipline”). If the

       interview was the result of specific criminal suspicion directed toward the student,

       questioning occurring during the investigation of this suspicion will be subject to

       closer scrutiny by courts. See In re D.A.C., 225 N.C. App. at 552, 741 S.E.2d at 382
       (holding that “the degree to which suspicion had been focused on the defendant” prior

       to the interview is a relevant Miranda factor) (internal marks and citation omitted);

       In re K.D.L., 207 N.C. App. at 461, 700 S.E.2d at 772 (interview was custodial when

       juvenile “knew he was suspected of a crime” as opposed to a mere violation of school

       rules). On the other hand, if the interview is a disciplinary investigation into the

       breaking of school rules and its result is unlikely to involve the criminal justice

       system, questioning of the student will not be considered to have occurred while the

       student was in custody. See, e.g., Matter of Phillips, 128 N.C. App. 732, 735, 497

       S.E.2d 292, 294 (1998) (no Miranda warnings required when school officials “did not

       question the juvenile to obtain information to use in criminal proceedings but

       questioned her simply for school disciplinary purposes”).

¶ 51         The purpose of an interview (criminal vs. disciplinary) can also be revealed by

       examining the degree and nature of the cooperation between school officials and law

       enforcement, including an SRO.      Did the SRO work with the school official by
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       following a set of pre-defined procedures in conducting the interview? For example,

       if school officials typically follow a certain process when disciplining a child for

       breaking school rules, and use a different process when investigating criminal

       activity, then the use of (or departure from) these procedures is instructive. See, e.g.,

       N.C., 396 S.W.3d at 854 (evidence showed that student was in custody when principal

       and SRO had employed a “loose routine they followed for questioning students when

       there was suspected criminal activity”).

             b. Interrogation

¶ 52         The second element of the Miranda test asks whether the juvenile was subject

       to an interrogation.     Under this element, the primary concern is whether the

       authorities employed “any words or actions” that they “should know are reasonably

       likely to elicit an incriminating response from the suspect.” Innis, 446 U.S. at 301.

       The focus here is on “the suspect’s perceptions” of the encounter, “rather than on the

       intent of the law enforcement officer.” State v. Golphin, 352 N.C. 364, 406, 533 S.E.2d

       168, 199 (2000).

¶ 53         In the context of a schoolhouse interrogation, the following factors are most

       relevant to the interrogation element:

                 (1) the nature of the questions asked (interrogative or mandatory);

                 (2) the willingness of the juvenile’s responses; and,

                 (3) the extent of the SRO’s involvement.
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¶ 54         First—what was the nature of the statements made by the questioner? If the

       questions were mostly open-ended (e.g., “would you like to tell me what happened?”),

       this weighs against concluding that the questioning was an interrogation. See, e.g.,

       In re D.A.C., 225 N.C. App. at 553, 741 S.E.2d at 382 (juvenile was not subject to

       custodial interrogation when he was “asked . . . rather than instruct[ed]” to cooperate,

       and “did nothing more . . . than answer a simple, straightforward question”). On the

       other hand, if the questions are accompanied by imperative statements suggesting

       compliance is mandatory (e.g., “you have to tell me the truth”), this supports the

       conclusion that the questioning was an interrogation. See, e.g., In re K.D.L., 207 N.C.

       App. at 462, 700 S.E.2d at 773 (juvenile was subject to custodial interrogation when

       he was not “given the option of answering questions,” but rather was instructed to

       answer). The tone of voice, volume, and body language used by the questioner are

       also relevant here. See Hammonds, 370 N.C. at 164, 804 S.E.2d at 443 (no custodial

       interrogation when the conversation with the suspect was “calm and cordial in tone”

       and “the detectives offered [the suspect] food or drink”).

¶ 55         Second—how willingly did the subject respond to the questions? If the juvenile

       makes a wholly unsolicited or spontaneous statement, such a statement is unlikely

       to be considered to have been made in the context of interrogation. See In re D.L.D.,

       203 N.C. App. 434, 444, 694 S.E.2d 395, 403 (2010) (no custodial interrogation

       occurred when juvenile’s “unsolicited and spontaneous” statement was “not [made] at
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       the questioning of the officers”) (internal marks and citation omitted). On the other

       hand, if a juvenile expresses hesitancy or reluctance to answer, claims ignorance of a

       subject, or must be coaxed into answering, this weighs in support of the ultimate

       conclusion that any statements made occurred during an interrogation.

¶ 56         Third—what was the extent of the involvement of law enforcement?                 As

       discussed above, a custodial interrogation can occur even when the SRO is present

       while a student is interviewed by school officials but does not ask questions.

       However, the scope and extent of the SRO’s involvement in the questioning is still a

       relevant factor in ascertaining whether or not an interrogation occurred. If the SRO

       was not present for the entirety of the questioning or for significant portions of it, the

       absence of the officer can weigh against the conclusion that the questioning qualified

       as an interrogation. See In re R.B.L., 242 N.C. App. 383, 776 S.E.2d 363, 2015 WL

       4429626, at *1-8 (2015) (unpublished) (juvenile was not subject to custodial

       interrogation when the SRO “stood off to [the] side,” did not ask questions, and

       “entered and exited the room several times” during the interview). On the other

       hand, if the SRO directs the questioning, either by leading it or participating heavily

       in it, this weighs in support of the conclusion that the questioning was an

       interrogation. In re K.D.L., 207 N.C. App. at 461, 700 S.E.2d at 772.

¶ 57         Finally, we note that as with the reasonable adult standard, no single factor is

       controlling in determining whether statements made by a juvenile are the product of
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       custodial interrogation. Rather, the inquiry is whether the totality of the

       circumstances surrounding the questioning “add up to custody.” J.D.B., 564 U.S. at

       278 (citation omitted).

       C. Application

¶ 58         Now we turn to the facts of the present case and the issue of whether the

       statements Deacon made were the product of a custodial interrogation. To briefly

       review, 13-year-old Deacon was called into to the principal’s office after officers

       received a tip that Deacon had sold marijuana to another student. He was then

       questioned by the principal while the SRO was present the entire time, and after

       some prompting made a confession.         It was not until after Deacon made this

       confession that his guardian was contacted, and at no point was he told that he was

       free to leave or to refuse to answer questions. We hold that this amounted to a

       custodial interrogation and that the trial court erred in concluding otherwise and

       denying the motion to suppress.

          1. Custody

¶ 59         First—would a reasonable student in Deacon’s place have felt free to terminate

       the interview and leave, under these circumstances? We conclude that a reasonable

       13-year-old would not, given the location of the interview, what Deacon could have

       known about the interview before it began, the people present during the interview,

       and the investigatory purpose of the interview.
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¶ 60         Thirteen-year-old Deacon arrived at school on the morning of 14 March 2019

       knowing that he was in trouble—knowing that his classmate had recently been

       caught with the marijuana that Deacon had sold him. In fact, he had been absent

       from school the prior two days because he was so nervous about what might happen

       when he returned. His worries were confirmed when he was summoned to the

       principal’s office that morning, where both Principal Whitaker and Deputy Sechrist

       were waiting for him.    The two authority figures sat together opposite Deacon.

       Deputy Sechrist was wearing his uniform, and Principal Whitaker was dressed

       formally in a suit. Deacon was not told that he was free to go, was not told that he

       did not have to answer questions, and was not told that he could call his grandmother

       if he wished.

¶ 61         We hold that, under these circumstances, no reasonable 13-year-old would

       have felt free to leave. Even before any questions were asked, it appeared that this

       interview was for purposes of a criminal investigation rather than a mere disciplinary

       matter. Deacon’s classmate Daniel had been caught with marijuana only three days

       prior, and had admitted that he bought the drugs from Deacon. Deputy Sechrist and

       Principal Whitaker were thus following a lead as a part of a criminal investigation

       when they called Deacon into the office to be questioned.

¶ 62         The State contends that this was purely a disciplinary matter (and that no

       Miranda warning was required) because Principal Whitaker was only concerned with
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       why Deacon had missed school the previous two days. While it is true that Deacon

       had missed school for two days, if this had been a pure disciplinary matter regarding

       Deacon’s absences, then there would have been no reason to have the SRO present.

       Though the record does not demonstrate what typical procedures Gentry Middle

       School follows when a student has accrued two days’ worth of absences—absences

       which might not have been unexcused2—we strongly suspect that not every instance

       involves a student being summoned out of class to meet with the principal and a

       uniformed SRO.

¶ 63         Moreover, once inside the principal’s office—an intimidating atmosphere to

       any reasonable 13-year-old—Deacon found himself in a room not only with the

       principal, but also the same officer that had questioned Daniel. A reasonable student

       in Deacon’s position would believe that he was going to be questioned about potential

       criminal behavior, not disciplined for missing two days of school. Accordingly, we

       hold that Deacon was in custody at the time of his questioning by Principal Whitaker

       and Deputy Sechrist.

          2. Interrogation

¶ 64         We must next address whether Deacon was subjected to interrogation—i.e.,

       whether the questioning was of a nature that the two authority figures should have



             2 Deputy Sechrist admitted at the suppression hearing that he did not know whether

       Deacon’s absences were unexcused.
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       known was likely to elicit an incriminating response from Deacon. We conclude that

       the answer to this question is also yes, given the nature of the questions asked, the

       length of the interview, the extent of Deputy Sechrist’s involvement, and the

       differential treatment of Deacon as compared to Daniel.

¶ 65         After Deacon arrived at the principal’s office, he began to be questioned by

       Principal Whitaker, while Deputy Sechrist sat by the principal’s side and observed

       throughout. However, Deputy Sechrist’s testimony regarding the content of the

       interview was not exhaustive. He offered three slightly differing accounts of what

       happened: (1) initially testifying that Deacon apparently volunteered the information

       about the marijuana sale without being prompted; (2) then clarifying that Principal

       Whitaker had asked Deacon to tell them “what had taken place,” whereupon Deacon

       confessed; and (3) finally stating that Principal Whitaker had simply asked Deacon

       “where have you been for the last few days,” to which Deacon responded that he had

       skipped school for fear of being punished for the marijuana sale.

¶ 66         Though it is not clear precisely what questions Principal Whitaker asked

       Deacon, it is clear that Deacon’s grandmother was not contacted until after Deacon

       had already confessed in response to the questioning. Deputy Sechrist also stated

       that “not very many questions were even asked” prior to the grandmother being

       called—but the very phrasing of this statement implies that multiple questions were

       asked before Deacon’s guardian was notified, and that enough were asked to elicit a
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       confession. Under these circumstances, both Principal Whitaker and Deputy Sechrist

       should have known that asking these questions of a 13-year-old (who was already the

       suspect of a criminal investigation and likely knew he was a suspect, and who had

       not yet been afforded any ability to contact his guardian), would have been likely to

       result in an incriminating statement.

¶ 67         We also cannot ignore the fact that Deacon received a very different treatment

       than his classmate Daniel. After Daniel was found with marijuana on the school bus,

       he was escorted by Deputy Sechrist to the principal’s office, and his father was

       immediately contacted. Once inside the principal’s office, Daniel asked whether he

       could “speak freely,” but Deputy Sechrist expressly instructed him to “wait until your

       daddy gets here.” Daniel was not asked any questions until after his father arrived.

¶ 68          In contrast, Deacon was not advised to keep quiet until his guardian arrived,

       and Deacon’s guardian was not even contacted until after he had confessed. This

       unequal treatment underscores that the purpose of interviewing Deacon was to

       conduct a criminal investigation, not to investigate whether he had broken a school

       rule about absences. Unlike Daniel, Deacon did not have access to a guardian or

       other adult concerned with his best interest during the questioning, demonstrating

       that the purpose of the questioning was to elicit an inculpatory response from a

       criminal suspect, rather than to mete out school discipline for missing class.

¶ 69         As the State notes, it is true that Deputy Sechrist himself asked no questions
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       of Deacon during the interview, based on Deputy Sechrist’s testimony. However, as

       in In re K.D.L., Deputy Sechrist’s presence during the entirety of the interview

       “significantly increased the likelihood” that Deacon “would produce an incriminating

       response to the principal’s questioning.” 207 N.C. App. at 461, 700 S.E.2d at 772.

       Moreover, we find it relevant that Deputy Sechrist was intimately involved in the

       investigation from the outset. He investigated the original incident on the bus,

       escorted Daniel to the principal’s office, warned Daniel not to speak prior to his father

       arriving, and was present throughout Daniel’s questioning. Prior to speaking with

       Deacon, Deputy Sechrist had also performed lab tests on the substance recovered

       from Daniel to confirm it was marijuana. On the day of questioning Deacon, Deputy

       Sechrist was in uniform, he sat on the same side of the desk as the principal, and was

       present for the entire interview. Under these circumstances, Deputy Sechrist was

       more than just an observer to a school disciplinary conversation—he was a law

       enforcement officer investigating a crime.

¶ 70         Finally, we note that the trial court relied on an erroneous legal standard in

       concluding that Deacon’s interview was not a custodial interrogation. The trial court

       based its determination primarily on the “fact” that Deputy Sechrist was not “some

       strange officer in uniform” and that it was “not unusual in a school setting” for a

       student “to be called into a principal’s office.” This is not the test for whether a

       Miranda warning is required.
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¶ 71         First, aside from the fact that there was no evidence in the record to support

       the finding that Deputy Sechrist was not a “strange officer in uniform,” it bears

       emphasizing that the Miranda inquiry is an objective, not subjective, test.

       Yarborough v. Alvarado, 541 U.S. 652, 663 (2004). Any supposed familiarity between

       a 13-year-old and an investigating officer is irrelevant under a proper Miranda

       inquiry. Id. at 668-69 (relying on a suspect’s “prior history with law enforcement” in

       a Miranda analysis is “improper” because “[t]he inquiry turns too much on the

       suspect’s subjective state of mind and not enough on the objective circumstances of

       the interrogation”) (internal marks and citation omitted).

¶ 72         Rather, the objective Miranda inquiry turns on (1) “the circumstances

       surrounding the interrogation”; and (2) whether “given those circumstances,” a

       reasonable 13-year-old would “have felt he or she was not at liberty to terminate the

       interrogation and leave.”   Thompson v. Keohane, 516 U.S. 99, 112 (1995).         The

       circumstances here were that Deacon, a 13-year-old suspect in a criminal

       investigation, was called out of class to be questioned in the principal’s office

       alongside the SRO; was neither told he was free to leave nor that he did not have to

       answer questions; and was not provided the option of contacting his guardian until

       after he had already confessed.

¶ 73         The trial court was required to take these circumstances into account to

       determine whether a reasonable 13-year-old in Deacon’s position would have felt free
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                                         Opinion of the Court



       to terminate the encounter and leave. There is no indication in the trial court’s order

       that it considered or applied this standard. Accordingly, the trial court erred in

       denying the motion to suppress Deacon’s confession; in concluding that the

       questioning did not amount to a custodial interrogation; and in concluding that

       Deacon was not entitled to the protections of the Fifth Amendment or N.C. Gen. Stat.

       § 7B-2101.

                                      III.     Conclusion

¶ 74         The trial court erred in concluding that Deacon’s confession was not the

       product of a custodial interrogation and in denying the motion to suppress Deacon’s

       confession. We therefore reverse and remand the order of the trial court.

             REVERSED AND REMANDED.

             Judges HAMPSON and CARPENTER concur.
